Case 1:23-cv-01615-CKK Document 23-8 Filed 07/11/23 Page 1 of 8




        EXHIBIT D
                  Case 1:23-cv-01615-CKK Document 23-8 Filed 07/11/23 Page 2 of 8



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                                                                                                                R E S E A R C H B R I E F 229




Drugs likely subject to Medicare
negotiation, 2026-2028
Sean Dickson, JD, MPH; Inmaculada Hernandez, PharmD, PhD




 Plain language summary                        Implications for                                  Author affiliations
                                               managed care pharmacy
 By 2028, Medicare will negotiate prices                                                         West Health Policy Center, Washington,
 for 38 drugs dispensed in pharmacies          Our list informs health plans of the drugs        DC (Dickson); Division of Clinical
 and 2 drugs provided in physician             that will likely see major reductions             Pharmacy, Skaggs School of Pharmacy and
 offices. Medicare drug price negotiation      in price and subsequently cost sharing            Pharmaceutical Sciences, University of
 will benefit patients with common             under Medicare and identifies other               California, San Diego, La Jolla (Hernandez).
 diseases such as diabetes, cancer,            top-spend drugs that will be ineligible
 respiratory conditions, or cardiovascular                                                       AUTHOR CORRESPONDENCE:
                                               for negotiation. This information will
 disease. Our list of drugs expected to be                                                       Inmaculada Hernandez, 1.858.822.6047;
                                               guide Part D benefit design, formulary
 negotiated by Medicare shows patients,                                                          inhernandez@health.ucsd.edu
                                               placement, and insurer negotiations with
 clinicians, and insurers which drugs will     manufacturers for discounts.
 become more affordable for seniors in
 the next few years.
                                                                                                                      J Manag Care Spec Pharm.
                                                                                                                              2023;29(3):229-35
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                                                                                                             Care Pharmacy. All rights reserved.


                                               & Medicaid Services in 2026-2028 based on         kinase inhibitors, and 3 oral anticoagulants.
ABSTRACT
                                               the statutory criteria, Part B and Part D gross   In all but 5 cases, high-spend drugs ineligible
BACKGROUND: After the passage of the           spending in 2020, and estimates of when a         for negotiation were disqualified because of
Inflation Reduction Act, Medicare will be      drug will be subject to generic or biosimilar     generic or biosimilar competition.
able to negotiate drug prices starting in      competition. We also identify the reasons
                                               why other high-spend drugs will be ineligible     CONCLUSIONS: Medicare drug price negotia-
2026. The Congressional Budget Office has
                                               for negotiation.                                  tion has the potential to benefit Medicare
estimated the total savings achieved each
                                                                                                 beneficiaries across some of the most com-
year for negotiation but has not publicly      RESULTS: In 2026-2028, we estimate that
identified the drugs anticipated to be                                                           mon disease states. By generating the list
                                               Medicare will negotiate prices for 38
negotiated each year.                                                                            of drugs likely subject to Medicare negotia-
                                               Medicare Part D drugs and 2 Part B drugs.
                                               Combined, the 40 products eligible for            tion in the initial years, we hope to provider
OBJECTIVE: To identify the drugs expected to                                                     researchers, policymakers, prescribers, and
                                               negotiation in 2026-2028 accounted for $67.4
be negotiated by Medicare in 2026-2028.
                                               billion in gross Medicare spending in 2020.       patient advocates with expectations on
METHODS: We identify drugs expected to         Part D drugs eligible for negotiation in 2026-    which drugs are expected to see reductions
be negotiated by the Centers for Medicare      2028 include 7 inhalers, 8 antidiabetics, 5       in beneficiary cost sharing.




Nearly 20 years after the creation of          of the Inflation Reduction Act of 2022.1          marketed for more than 13 years,
the Medicare Part D program, the               Under this new authority, CMS will                although the negotiations begin 2 years
Centers for Medicare & Medicaid                apply negotiated maximum fair prices              before they are applied, making the
Services (CMS) will be able to nego-           for selected small-molecule drugs                 age threshold 7 and 11 years, respec-
tiate drug prices directly with                that have been on the market for at               tively. Drugs are only eligible if there
manufacturers following the passage            least 9 years and for biologic therapies          is no marketed generic or biosimilar


                                                                                                           Vol. 29, No. 3 | March 2023 | JMCP.org
                       Case 1:23-cv-01615-CKK Document 23-8 Filed 07/11/23 Page 3 of 8



-   230 Drugs likely subject to Medicare negotiation, 2026-2028




    therapy, excluding authorized generics or authorized bio-         B and Part D gross spending in 2020 was obtained from
    similars. Drugs approved under an orphan drug application         the CMS spending dashboards, which report gross spend-
    and that only have orphan indications for a single disease        ing per product (inclusive of manufacturer discounts).4,5
    or condition will be ineligible for negotiation. Orphan drugs     For drug products, we estimated LOE based on the latest
    with indications for multiple diseases will, however, remain      expiration date of any drug substance or drug product pat-
    eligible for negotiation. CMS will negotiate prices on the        ent listed in the Orange Book;8 this was superseded by any
    highest gross spend 10 Part D drugs for implementation in         publicly disclosed patent settlement date, for which we
    2026, 15 Part D drugs for 2027, and 15 drugs from across the      performed an online search for each product and generic
    Medicare Part B and D programs for 2028 (Medicare Part B          or biosimilar competitors, as appropriate, and reviewed the
    covers provider-administered drugs, whereas Part D covers         most recent annual securities filings from each manufac-
    retail prescription drugs). From 2029 onward, 20 drugs from       turer. For biologics, we use estimated LOE from an expert
    across the 2 Parts will be negotiated. In calculating gross       report.9 Notably, for a drug to be ineligible for negotiation
    spend, CMS includes dispensing fees for Part D drugs and          because of competition, the generic or biosimilar must
    add-on and bundled payments for Part B drugs.                     have been marketed at least 9 months prior to the year of
        Negotiated prices will remain in effect until the drug        implementation of negotiated prices. In other words, a ref-
    becomes ineligible because of generic or biosimilar compe-        erence drug with generic entry in June 2026 would remain
    tition, and the negotiated price will be capped at a certain      eligible for negotiation until 2028.
    discount based on the drug’s age. Drugs marketed for 9-12             In addition to our projections of drugs subject to nego-
    years will be subject to a minimum discount of 25%; drugs
                                                                      tiation, we report public information on the minimum
    marketed 12-16 years face a minimum discount of 35%;
                                                                      discount percentage required by statute based on the
    and drugs marketed for more than 16 years must discount
                                                                      drug’s years on the market, Medicare gross spending on
    prices by at least 60%; however, prior to 2030, drugs mar-
                                                                      the drug in 2020 obtained from the dashboards,5,10 and the
    keted 12-16 years will only be subject to the 25% minimum
                                                                      CBO’s estimated annual savings from negotiation.4 Finally,
    discount. Drugs will become ineligible for negotiation when
                                                                      we report all high-spend drugs that we excluded from the
    a generic or biosimilar version has been approved and
                                                                      list of likely negotiated drugs and the reasons for exclusion.
    marketed for at least 9 months prior to January 1 of the year
                                                                          Additional information: The study was not registered.
    in which negotiated prices would apply. The definition of
    generic or biosimilar marketing status relies on the deter-
    mination of the US Food and Drug Administration (FDA).2
        Two years prior to the implementation of negotiated
                                                                      Results
    prices, CMS will begin negotiation on the top eligible drugs      For 2026, the top drugs projected for negotiation include
    based on age and generic/biosimilar availability by gross         anticoagulants Eliquis (apixaban) and Xarelto (rivaroxa-
    spend, although negotiation for 2026 will begin in 2023           ban), oral antidiabetics Januvia (sitagliptin) and Jardiance
    under a timeline provided by CMS.3 The Congressional              (empagliflozin), the tumor necrosis factor inhibitor Enbrel
    Budget Office (CBO) has estimated the total savings               (etanercept), and the inhalers Symbicort (budenoside/for-
    achieved each year for negotiation (in 2026, $3.7 billion;        moterol) and Breo Ellipta (fluticasone/vilanterol) (Table 1).
    2027, $8.3 billion; 2028, $17.5 billion) 4 but has not publicly   Three cancer therapies are projected to be eligible for
    identified the drugs anticipated to be negotiated each year.      negotiation in 2026 as well, including the kinase inhibitors
    To aid policymakers and practitioners, we leverage public         Imbruvica (ibrutinib) and Ibrance (palbociclib) and the anti-
    data to project which specific drugs will likely be subject to    androgen Xtandi (enzalutamide). In 2020, these 10 products
    negotiation from 2026-2028.                                       accounted for $33.7 billion (17%) of Part D gross spending.
                                                                         Based on their rank by gross spending, drugs likely to
                                                                      be negotiated for 2027 include 4 inhalers, 3 antidiabetics,
    Methods                                                           2 kinase inhibitors, the antipsychotic Invega Sustenna
    We identify drugs expected to be negotiated by CMS for            (paliperidone), the hepatitis C treatment Epclusa (sofos-
    benefit years 2026-2028 based on drug age, drug or bio-           buvir/velpatasvir), the irritable bowel syndrome therapy
    logic status, orphan drug status, Part B and Part D gross         Linzess (linaclotide), the pancreatic enzyme mix Creon, the
    spending in 2020,5,6 and estimates of when a drug will be         antibiotic Xifaxan (rixafimin), and the tardive dyskinesia
    subject to generic or biosimilar competition (loss of exclu-      therapy Ingrezza (valbenazine). The 15 products projected
    sivity [LOE]). Drug age, drug or biologic status, and orphan      to be negotiated for 2027 accounted for $16.4 billion (8.3%)
    drug status were ascertained from the FDA website.7 Part          in gross Part D spending in 2020.


    JMCP.org | March 2023 | Vol. 29, No. 3
                    Case 1:23-cv-01615-CKK Document 23-8 Filed 07/11/23 Page 4 of 8

                                                                        Drugs likely subject to Medicare negotiation, 2026-2028

                                                                                                                                          - 231




      TABLE 1         Drugs Anticipated to Face Medicare Price Negotiation, 2026-2028
                                                                                                      Expected                        CBO-
                                                                                             Years     loss of    Minimum          estimated
                                                                             Spending        since   exclusivityc discountd,         annual
 Rank/part   Brand name          Generic name            Manufacturer       in 2020a, $    approvalb (by year)    I   %        I   savingse, $
Subject to negotiation in 2026
  1      D   Eliquis        Apixaban                  BMS/Pfizer           9,936,069,814     13.0        2028           25
  2      D   Xarelto        Rivaroxaban               Janssen Pharm.       4,701,314,805     14.5        2027           25
  3      D   Januviaf       Sitagliptin phosphate     Merck Sharp & D      3,865,087,773     19.2        2026           60
  4      D   Imbruvica      Ibrutinib                 Pharmacyclics        2,962,909,304     12.1        2033           25
  5      D   Jardiance      Empagliflozin             Boehringer Ing.      2,376,166,292     11.4        2028           25
                                                                                                                                   3.7 billion
  6      D   Enbrel         Etanercept                Amgen                2,154,714,778     27.2        2029           60
  7      D   Symbicort      Budesonide/formoterol     Astrazeneca          2,135,408,250     19.5        2028           60
  8      D   Ibrance        Palbociclib               Pfizer US Pharm      2,108,937,188     10.9        2034           25
  9      D   Xtandi         Enzalutamide              Astellas Pharma      1,968,567,948     13.4        2027           25
 10      D   Breo Ellipta   Fluticasone/vilanterol    Glaxosmithkline      1,504,155,910     12.7        2030           25
Total 2026 drugs                                                          33,713,332,062
Subject to negotiation in 2027
             Trelegy        Fluticasone/
  1      D                                            Glaxosmithkline      1,487,802,308      9.3        2027           25
             Ellipta        umeclidinium/vilanterol
  2      D   Ozempic        Semaglutide               Novo Nordisk         1,455,812,267      9.1        2031           25
             Invega
  3      D                  Paliperidone palmitate    Janssen Pharm.       1,372,610,289     17.4        2031           60
             Sustenna
  4      D   Jakafi         Ruxolitinib               Incyte Corporat      1,296,674,522     15.1        2028           25
  5      D   Tradjenta      Linagliptin               Boehringer Ing.      1,288,663,293     15.7        2027           25
  6      D   Ofev           Nintedanib esylate        Boehringer Ing.      1,157,563,828     12.2        2029           25
                                                                                                                                 8.3 billion
  7      D   Spirivag       Tiotropium bromide        Boehringer Ing.      1,153,453,863     22.9        2030           60         (2027
                                                                                                                                  savings
  8      D   Linzess        Linaclotide               Allergan Inc.        1,144,468,128     14.4        2033           25
                                                                                                                                from drugs
  9      D   Anoro Ellipta Umeclidinium/vilanterol    Glaxosmithkline      1,002,343,776     13.1        2030           25     negotiated in
                                                                                                                                2026-2027)
 10      D   Creon          Lipase/protease/amylase Abbvie US LLC           960,235,542      17.8        2031           60
 11      D   Epclusa        Sofosbuvir/velpatasvir    Gilead Sciences        867,053,907     10.5        2034           25
 12      D   Xifaxan        Rifaximin                 Salix Pharmaceu       844,562,189      22.6        2027           60
             Spiriva
 13      D                  Tiotropium bromide        Boehringer Ing.       804,565,194      12.3        2030           25
             Respimatg
 14      D   Ingrezza       Valbenazine tosylate      Neurocrine Bios        792,681,813      9.7        2038           25
                            Sitagliptin phos/
 15      D   Janumet                                  Merck Sharp & D       791,886,114      19.7        2026           60
                            metformin hcl
Total 2027 drugs                                                          16,420,377,033
                                                                                                                      continued on next page




   For 2028, Part B drugs will become eligible for negotia-             2 Part B products, 13 Part D products are projected to be
tion. However, only 2 Part B products are projected to be               subject to price negotiation for 2028, including 3 antidia-
subject to negotiation (Keytruda [pembrolizumab] and                    betics and 4 HIV treatments. The 15 products projected to
Opdivo [nivolumab]), as most high-spend Part B drugs will               be negotiated for 2028 accounted for $17.2 billion (8.7%)
face biosimilar competition by then (Table 2). Given the                in gross Medicare spending in 2020. Combined, the 40


                                                                                                        Vol. 29, No. 3 | March 2023 | JMCP.org
                         Case 1:23-cv-01615-CKK Document 23-8 Filed 07/11/23 Page 5 of 8



-   232 Drugs likely subject to Medicare negotiation, 2026-2028




             TABLE 1       Drugs Anticipated to Face Medicare Price Negotiation, 2026-2028 (continued)
                                                                                                                          Expected                          CBO-
                                                                                                                 Years     loss of    Minimum            estimated
                                                                                               Spending          since   exclusivityc discountd,           annual
        Rank/part   Brand name           Generic name                Manufacturer             in 2020a, $      approvalb (by year)        %
                                                                                                                                          I              savingse, $
    Subject to negotiation in 2028
         1      B   Keytruda        Pembrolizumab                 Merck Sharp & D            3,500,947,569        13.3          2028           25
         2      D   Trulicity   h
                                    Dulaglutide                   Eli Lilly & Co.            3,284,873,062        13.3          2027           25
         3      B   Opdivo          Nivolumab                     BMS                        1,586,591,103        13.0          2028           25
         4      D   Biktarvy        Bictegravir/                  Gilead Sciences            1,775,846,507          9.9         2036           25
                                    emtricitabine/tenofovir
         5      D   Genvoya         Elvitegravir/cobicistat/      Gilead Sciences              755,819,244        12.2          2032           25
                                    emtricitabine/tenofovir
         6      D   Triumeq         Abacavir/dolutegravir/        Viiv Healthcare              738,986,222        13.4          2029           25
                                    lamivudine                                                                                                          17.5 billion
                                                                                                                                                           (2028
         7      D   Farxiga         Dapagliflozin                 Astrazeneca                  736,787,564        14.0          2030           25         savings
                                                                                                                                                        from drugs
         8      D   Tivicay         Dolutegravir                  Viiv Healthcare              656,037,862        14.4          2029           25
                                                                                                                                                       negotiated in
         9      D   Lumiganh        Bimatoprost                   Allergan Inc.                633,540,096        17.4          2027           60       2026-2028)
        10      D   Acthar          Corticotropin                 Mallinckrodt Ph              621,884,161        77.6           NA            60
        11      D   Incruse         Umeclidinium                  Glaxosmithkline              605,138,195        13.7          2030           25
                    Ellipta
        12      D   Pradaxah        Dabigatran                    Boehringer Ing.              599,577,175        17.2          2027           60
        13      D   Brilinta        Ticagrelor                    Astrazeneca                  588,513,924        16.5          2030           60
        14      D   Xeljanz XR      Tofacitinib citrate           Pfizer                       575,315,148        11.9          2034           25
        15      D   Invokana        Canagliflozin                 Janssen Pharm.               571,448,119        14.8          2031           25
    Total 2028 drugs                                                                       17,231,305,951
    Total 2026-2028 drugs                                                                  67,365,015,046                                               29.5 billion
    a
      Estimates represent gross Part D spending in 2020 for Part D drugs and gross Part B spending in 2020 for Part B drugs. Spending estimates were obtained from the
    Medicare spending dashboards.
    b
      Calculated as the time between drug approval and January 1 of the year that the drug is first expected to be subject to negotiation.
    c
      Expected loss of exclusivity was estimated as the latest reported drug substance or drug product patent expiry date, superseded by any publicly announced
    patent settlement date. 17-19
    d
      Beginning in 2030, drugs from 12 to 15 years of age will be subject to a minimum 35% discount.
    e
      Annual savings include ongoing savings from negotiated prices achieved in prior years.
    f
      Although the entry of generic sitagliptin is expected in mid-2026, this will not disqualify Januvia from negotiation in 2026, as a generic product must have been
    marketed for at least 9 months prior to the implementation year for the reference product to be ineligible for negotiation.
    g
      Spiriva and Spiriva Respimat were considered different products as they have different application numbers.
    h
      Patent protection anticipated to expire after the first quarter of 2027, so any approved generics or biosimilars would not meet the 9-month marketing requirement
    prior to 2028.
    BMS = Bristol Myers Squibb; CBO = Congressional Budget Office; NA = not applicable.




    products projected to be eligible for negotiation for 2026-                         in mid-2026. This launch timeline would not result in 9
    2028 accounted for $67.4 billion in gross Medicare spending                         months of a marketed generic prior to the start of 2027;
    in 2020, equivalent to 33.9%) of 2020 Part D spending or                            therefore, we anticipate negotiated prices to remain in
    28.4% of combined Part B and D drug spending.                                       effect through the end of 2027.
       We expect that 2028 will be the first year when a negoti-                           In Table 2, we report high-spend products ineligible for
    ated drug becomes ineligible for negotiated prices for the                          negotiation because of statutory requirements. In all but 7
    first time because generic competition, as Januvia and                              cases, drugs were disqualified because of generic or bio-
    Janumet are expected to have generic competition launch                             similar competition. Products disqualified from negotiation


    JMCP.org | March 2023 | Vol. 29, No. 3
                     Case 1:23-cv-01615-CKK Document 23-8 Filed 07/11/23 Page 6 of 8

                                                                                    Drugs likely subject to Medicare negotiation, 2026-2028

                                                                                                                                                           - 233




                        Top-Spending Drugs Ineligible for Medicare Price Negotiation, 2026-2028
---i----------
      TABLE 2

        Brand name             Generic name               Manufacturer
                                                                                Spending in
                                                                                  2020a, $                            Reason ineligible
Part D drugs
    Revlimid              Lenalidomide                 Celgene/BMS             5,356,050,275     Generic available
    Humira                Adalimumab                   Abbvie US LLC           4,166,710,387     Anticipated biosimilar in 2023
    Lantus                Insulin glargine             Sanofi-Aventis          3,719,082,839     Biosimilar available
    Novolog               Insulin aspart               Novo Nordisk            2,972,656,706     Interchangeable biosimilar anticipated by 2026
    Humalog               Insulin lispro               Eli Lilly & Co.        2,064,366,203      Interchangeable biosimilar anticipated by 2026
    Levemir Flextouch     Insulin detemir              Novo Nordisk            1,991,698,847     Interchangeable biosimilar anticipated by 2026
    Victoza               Liraglutide                  Novo Nordisk            1,895,291,574     Generic anticipated in 2023
    Pomalyst              Pomalidomide                 Celgene/BMS             1,453,860,767     Generic anticipated in 2026, and based on spending,
                                                                                                 it would not qualify until 2027
    Restasis              Cyclosporine                 Allergan Inc.          1,451,534,384      Generic available
    Latuda                Lurasidone                   Sunovion Pharma         1,317,919,887     Generic anticipated in 2023
    Entresto              Sacubitril/valsartan         Novartis               1,203,043,540      Generic anticipated by 2025
    Advair Diskus         Fluticasone/salmeterol       Glaxosmithkline         1,160,474,903     Generic available
    Stelara               Ustekinumab                  Janssen Biotech         1,106,356,248     Biosimilar anticipated in 2024
    Tecfidera             Dimethyl fumarate            Biogen-Idec             1,054,984,601     Generic available
    Shingrix              Varicella-zoster             Glaxosmithkline           875,670,149     Ineligible based on years since approval
    Janumet               Sitagliptin/metformin        Merck Sharp & D          791,886,114      Generic anticipated in 2026, and based on spending,
                                                                                                 it would not qualify until 2027
    Aubagio               Teriflunomide                Sanofi-Aventis            778,201,329     Generic anticipated in 2023
    Vascepa               Icosapent ethyl              Amarin Pharma             754,811,701     Generic available
    Copaxone              Glatiramer acetate           Teva Neuroscien          713,588,637      Generic available
    Vimpat                Lacosamide                   UCB Pharma                709,365,915     Generic available
    Basaglar              Insulin glargine             Eli Lilly & Co.           689,339,162     Ineligible based on years since approval
    Dexilant              Dexlansoprazole              Takeda                    651,674,922     Generic available
Part B drugs
    Eylea                 Aflibercept                  Regeneron               3,013,081,886     Biosimilar anticipated in 2024
    Prolia                Denosumab                    Amgen                  1,626,844,123      Biosimilar anticipated in 2025
    Rituxan               Rituximab                    Roche                   1,295,821,133     Biosimilar available
    Lucentis              Ranibizumab                  Genentech               1,113,026,180     Biosimilar available
    Orencia               Abatacept                    BMS                     1,023,001,524     Biosimilar anticipated in 2026
    Neulasta              Pegfilgrastim                Amgen                     899,790,555     Biosimilar available
    Darzalex              Daratumumab                  Johnson & Johnson         837,400,702     Not eligible until 2029 because of years since approval
    Avastin               Bevacizumab                  Genentech                 680,539,026     Biosimilar available
    Remicade              Infliximab                   Janssen                   663,412,142     Biosimilar available
    Tecentriq             Atezolizumab                 Genentech                 624,194,084     Not eligible until 2030 because of years since approval
    Ocrevus               Ocrelizumab                  Genentech                 618,708,736     Not eligible until 2031 because of years since approval
    Soliris               Eculizumab                   Alexion                   610,425,468     Biosimilar anticipated in 2025
a
 Estimates represent gross Part D spending in 2020 for Part D drugs and gross Part B spending in 2020 for Part B drugs. Spending estimates were obtained from the
Medicare spending dashboards. 5,10
BMS = Bristol Myers Squibb.




                                                                                                                         Vol. 29, No. 3 | March 2023 | JMCP.org
                       Case 1:23-cv-01615-CKK Document 23-8 Filed 07/11/23 Page 7 of 8



-   234 Drugs likely subject to Medicare negotiation, 2026-2028




    include insulin products, which are        almost certainly underrepresent the         40 products eligible for negotiation in
    expected to face competition from          price reductions that will be achieved      2026-2028 accounted for $67.4 billion
    biosimilars by 2026, and the block-        for the Part D drugs, as the negotiated     in gross Medicare spending in 2020.
    buster Humira (adalimumab), which is       price is required to be below the           By identifying a list of drugs likely to
    expected to face biosimilar competi-       existing average net price of the drug,     be negotiated by CMS, we hope to
    tion in 2023.                              which includes confidential rebates.        provide researchers, policymakers,
                                               Thus, Medicare patients may see their       prescribers, and patient advocates
                                               cost sharing fall by amounts greater        with expectations on which drugs
    Discussion                                 than reflected by the minimum price         will see reductions in beneficiary cost
                                               reductions reported, as their cost          sharing.
    To our knowledge, our article is the
    first public report of the drugs antici-   sharing will reflect, at minimum,
    pated to be negotiated by CMS for          existing net prices.                        DISCLOSURES
    benefit years 2026-2028. Our esti-            Overall, Medicare negotiation
                                                                                           This work was funded by the West Health
    mates differ from an earlier list of       will benefit patients on the specific       Policy Center. Dr Hernandez reports con-
    negotiation-eligible drugs for 2026        medications identified across some          sulting fees from Pfizer and Bristol Myers
    that did not consider LOE after 2022,      of the most common disease areas            Squibb, outside of the submitted work.

    as acknowledged by the authors.11 With     while reducing total Medicare drug
    the exception of 2 insulin products,       spending. The Inflation Reduction           REFERENCES
    which we believe will face biosimi-        Act coupled CMS negotiation with
                                                                                           1. Inflation Reduction Act of 2022. HR
    lar competition by 2026, our list is       substantial reforms to the Medicare
                                                                                           5376, 117th Cong (2022). Accessed January
    consistent with a previous report of       Part D benefit design, most notably         19, 2023. https://www.congress.gov/
    expected drugs to be negotiated            a $2,000 out-of-pocket cap. Absent          bill/117th-congress/house-bill/5376/text
    in 2026 that did account for LOE.12        CMS negotiation, these benefit
                                                                                           2. Center for Drug Evaluation and
    We have excluded NovoLog (insulin          changes are estimated to increase
                                                                                           Research. Marketing status notifica-
    aspart) from the list of drugs eligible    Medicare spending by $30 billion, but
                                                                                           tions under section 506I of the
    for negotiation as patents have expired    the savings generated through CMS           Federal Food, Drug, and Cosmetic Act.
    and the FDA is currently reviewing         negotiation offset these increases.4        US Food and Drug Administration.
    a biosimilar application.13 We have                                                    Accessed January 24, 2023. https://
                                               LIMITATIONS                                 www.fda.gov/regulatory-information/
    considered Levemir (insulin detemir)
                                               Our findings are subject to 2 main          search-fda-guidance-documents/
    ineligible for negotiation because the
                                               limitations. First, our selection of top-   marketing-status-notifications-under-
    manufacturer reports that US patents
                                               spending drugs is based on data from        section-506i-federal-food-drug-and-
    expired in June 2019,14 thus meet-
                                               2020, the most recent available at the      cosmetic-act
    ing our study exclusion criteria even
                                               time of analysis. Changes in drug utili-    3. Centers for Medicare & Medicaid
    though no biosimilar is yet available.
                                               zation and pricing over time may affect     Services. Medicare Drug Price
    Additionally, although the generic for-
                                               which drugs are ultimately selected         Negotiation Program: Next steps in
    mulation of Revlimid (lenalidomide)
                                               for negotiation based on total spend-       implementation for initial price appli-
    is currently subject to volume limita-                                                 cability year 2026. Published January
                                               ing in the year prior to negotiation.
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                                               Second, our list of drugs eligible for
    is considered “marketed” under FDA                                                     https://www.cms.gov/files/document/
                                               negotiation is subject to the uncertain
    criteria, thereby excluding Revlimid                                                   medicare-drug-price-negotiation-pro-
                                               outcomes of ongoing patent litigation,
    from negotiation eligibility.                                                          gram-next-steps-implementation-2026.
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        Some Medicare patients will                                                        pdf
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    benefit substantially from negotia-                                                    4. Congressional Budget Office. Estimated
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    all Medicare beneficiaries.4,16 Notably,   antidiabetics, 5 kinase inhibitors, and
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    JMCP.org | March 2023 | Vol. 29, No. 3
                 Case 1:23-cv-01615-CKK Document 23-8 Filed 07/11/23 Page 8 of 8

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                                                                                                Vol. 29, No. 3 | March 2023 | JMCP.org
